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                               Tremayne Durham #647007
                               SBI #OS01613467
                               New Jersey State Prison
                               P . O. BOX 861
                               Trenton , New Jersey 08625



                                                  UNITED STATES DISTRICT COURT
TREMAYNE DURHAM                                   FOR THE DISTRICT OF NEW JERSEY
         PLAINTIFF ,
                                                  CIVIL ACTION NO.
                                                                   ------
        V.                                        DISTRICT JUDGE :

G. KELLEY , C . O . R. ;                          TITLE 42 U. S . C .            1983
B. CORREA , C . O.R ;
W. GRAY , C . O. R .;
W. VI NCENTE , C.O . R.;
J. RODRIGUEZ , C.O.R. ;
K. VEGA , C . O . R. ;                            COMPLAINT             AND JURY TRIAL DEMAND
Z . GOODW I N, O.F. C. ;
L. JOVANOVIC , O.F . C.;
M. DOYLE, O.F.C .;
SUSAN SP IN GLER;
NURSE MOBOLANLE EBO , RN ;
NURSE NEAL WEST, RN,BSN ;:
DOCTOR JOHN DOE #1;
JOHN DOE #2 AND JOHN
DOE #3 ; J . JOHNSON,
MEDICAL RECORDS CLERK .
              DEFENDANTS .



COMES          NOW ,         Tremayne      Durham ,              Plaintiff,       Pro      Se   in the
above     matter,              and beseeches this honorable Court to treat t hi s
instant         cause liberally and afford it the principles of a pro - se
litigant          as         established         by        the       U. S . Supreme Court in Haine
                                                                 '
v    Kerner ,          404      U.S.     519 ,        92     S.CT .      594 ,   30     L. Ed . 2d 652
and Estelle v Gamble , 429 U. S . 106 .


                                  I. JURISDICTION AND VENUE


1.    This       is     a      1983     action        brought to redress the deprivation
          ,,
          ,,
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under             Civil      Rights          Act         enacted         by        congress        to        redress
the      violation s            of    Constitutional               Rights          under color of State
Law ,        42      u.s .c .        section         1983 .          This           court        has        original
jurisdiction               over      Plaintiff ' s          claims        pursuant           to        28     u. s.c .
section             1331     and      1343        (a).      Jurisdiction                  over     Plaintiff ' s
claims             for     declaratory              r elief        can        be     found        at 28 U.S. C.
section            2201 and 2202 .               Jurisdiction            over        Plaintiff ' s            c laims
for      injunctive             relief       can     be       found           at     28     U. S . C,        section
2283         and     section 2284 and Rule 65 of the Federal Rules of Civil
Procedure .          Additionally this court can use supplemental authority
over state claims under 28 USC 1367 .


2.      To        redress these acts the plaintiff is seeking a declaratory
judgment ,               punitive          and      compensatory               damages and refund for
all      legal            costs      and     attorney         fees incurred on the Plaintiff
to bring this action against all of the above defendants .                                                   At   all
times             relevant to this complaint defendants were acting under
color         of     State Law .


3 . Plaintiff Request a Trial by a Jury.


                                                  II. PARTIES

4.      Plaintiff ,          TREMAYNE            DURHAM ,     is     an        Oregon        State Prisoner

convicted            and     sentenced            by the State of Oregon and is confined

as      an out - of-state prisoner pursuant to the Out of State Compact

Agreement            Act     (hereafter            I.C . A) with the New Jersey Department

of Corrections at New Jersey State Prison                                          (Hereafter " NJSP " ) at

3rd . and Federal Streets , P . O. Box 861 , Tre nt on , New Jersey 08625.

Plaintiff is a citizen of the United States .




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5.    Defendant ,    G.     Kelley is a correctional officer at New Jersey

State Prison during               the     violations      complained         of    herein by

Plaintiff.       Defendant          G.     Kelley       (Hereafter "Kelley")         carries

his official duties at the prison's business                          address ,     which is

New    Jersey       State    Prison       (Hereafter      "NJSP")     3rd.    and     Federal

Streets ,    Trenton,       New     Jersey           08625.   At     the     time     of the

violations defendant Kelley was working as                    a     correctional officer

assigned to the quarantine area located at 7-UP 10 tier .                           Defendant

Kelley responsibilities are to enforce the prison's policies and

operating       procedures         inside the quarantine area , which includes ,

but     not limited to security of the quarantine area .                            Defendant

Kelley is being sued in his individual and official capacity.



6.    Defendant B.        Correa is a          correctional officer at NJSP during

the violations complained of herein by Plaintiff .

Defendant B. Correa           (Hereafter "Correa") carries out his official

duties at the prison ' s business address , which is                       "NJSP" 3rd. and

Federal Streets , Trenton , New Jersey 08625 .

At the time of the violations defendant Correa was working as a

correctional officer assigned to the                      quarantine area located at

7-UP 10 tier . Defendant Correa ' s                  responsibilities are to enforce

the    prison ' s     policies           and     operating    procedures          inside   the

quarantine area, which includes ,                    but not limited to security of




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    the quarant ine area .             Defendant        Correa     is     being    sued     in his

    individual and official capacity .



    7. Defendant W. Gray is a correctional officer at NJSP during                                  the

    violations complained of herein by Plaintiff.

    Defendant W. Gray (Hereafter "Gray")                       carries his official duties

    at the prison ' s business address , which is "NJSP" 3rd . and Federal

    Street , Trenton , New Jersey              08625 .

    At      the   time    of     the violations           defendant Gray was working as

    a correctional officer assigned                 to    the     quarantine       area     located

    at     7-UP    10    tier.     Defendant        Gray ' s     responsibilities         are       to

    enforce the prison's po li cies                and    operating        procedures        inside

    the quarantine area , which              includes , but not limited to security

    of the quarantine area .                Defendant Gray is being                 sued in his

    indivi dual and official capacity.

    8 . Defendant W. Vince nte i s a correctional officer at NJSP d u ring

    the violations complained of herein by Plaintiff.                              Defendant W.

    Vincente (Hereafter " Vincente") carries his official duties at the

    prison ' s    business       address ,    which       is     NJSP ,   3rd .   and       Federal

    Streets , Tr e nt on , New Jer s ey 08625 .

    At     the    time   of      the    violations        defendant       was     working     as     a

    correctional officer assigned to the quarantine area located at 7-

    UP 10 t i er .       Defendant Vincente responsibilities are to enforce

    the       prison's         polic i es    and    operating        procedures      inside        the


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quarantine area ,       which includes ,        but not limited to security of

the quarantine area.             Defendant Vincente is being sued in his

individua l and officia l capacity .



9 . Defendant J. Rodriguez is a correctional officer at NJSP during

the viola ti ons complained of herein by Plaintiff .

Defendant     J.     Rodriguez     (Hereafter       " Rodriguez")     carries      his

officia l   duties at the prison ' s business address , which is NJSP ,

3rd . and Federal Streets , Trenton , New Jersey 08625 .                  At the time

of    the   violations     defendant       Rodriguez    was   working         as     a

correct ional       officer     assigned to the quarantine area located at

7-UP 10 tier .      Defendant Rodriguez responsibilities are to               enforce

the   prison ' s     policies    and    operating       procedures        inside   the

quarantine area ,       which includes ,        but not limited to security of

the quarantine area.            Defendant Rodriguez is being sued in his

individual and official capacity .



10 . Defendant K. Vega is a correctional officer at NJSP during the

violations complained of herein by Plaintiff .                Defendant K. Vega

(Hereafter         " Vega " ) carries his official duties at the prison ' s

business address , which is            NJSP ,   3rd . and Federal Streets , P . O.

Box 861 , Trenton , New Jersey 08625 .           At the time of     the    violations

defendant Vega was working as a correctional officer assigned to

the quarantine area located at 7-UP 10 tier .

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Defendant     Vega ' s    responsibilities           are    to    enforce    the   prison ' s

policies     and      operating     procedures        inside      the    quarantine     area ,

which includes , but          not     limited to security of the quarantine

area .     Defendant Vega is          being sued           in      his     indi victual    and

offi cial capacity.



11. Defendant Z. Goodwin is a correctional officer at NJSP during

the violations complained of herein by Plaintiff.                            Defendant      Z.

Goodwin (Hereafter "Goodwin " ) carries his                      official duties      at the

prison ' s business address , which is NJSP , 3rd . and Federal Streets ,

P.O.     Box 861 ,     Trenton ,    New Jersey 08625 .              At the time       of   the

violations defendant Goodwin was working as a corr ectiona l officer

assigned to the West Compound 2 - Left housing unit.

Defendant      Goodwin's responsibilities are to enforce the prison ' s

rules ,    which      includes ,     but    not limited to security for 2-Left

housing      unit .     Defenda n t Goodwin is being sued in his individual

and official capacity .



12 .   Defendant L.       Jovanovic ,      is       a correctional officer at NJSP

during t h e violations complained of herein by Plaintiff .

Defendant      L.     Jovanovi c     (Hereafter            " Jovanovic " )    carries      his

official      duties     at the prison ' s business address , which is NJSP ,

3rd . and Federal Streets , Trenton , New                  Jersey 08625 .




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At the time of the violations                   defendant Jovanovic was working                       as

a correct iona l officer assigned to the West Compound 2 -Left housing

unit .     Defendant       Jovanovic         resp onsibilitie s           are     to     enforce     the

prison 's ru les , which inc ludes , but not limited to security for 2-

Left     housing        unit .    Defendant       Jovanovic          is    being         sued   in   his

individual and official capacity .



13 .     De f e ndant     M. Doyle is a correctional officer at NJSP during

the violations complained of herein by Plaintiff .                                     Defendant      M.

Doyle (Hereafter " Doyle " ) carries out his official duties                                    at   the

prison ' s     business address , which is NJSP , 3rd . and Federal Streets

, Trenton , New Jersey 08625 .

At the time of the violation s                   defendant           Doyle       was      working     as

a correctional officer assigned to the West Compound 2-Left housing

unit.          Defendant         Doyle ' s   responsibilities              are    to enforce         the

prison ' s rul es , which includes , but not limite d to security for 2 -

Left ho using unit .             Defendant Doyle is being sued in his individual

and of ficial capacity .
                                                                                                           i·

14 .    Defendant       Susan Spingler is              a      nurse       at    NJSP ,    during the

violat ions      complained of herein by plaintiff .                              Defendant Susan

Spingle r       (Hereafter          " Sp i ngler " )       carries     her       official       duties

at the pri s on ' s business address , which                    is NJSP , 3rd . and Federal

Streets , , Trenton , New Jersey 08625 .

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At the      time      of   the     violations       defendant Spingler was working

as a      nurse assigned to the quarantine area located at 7-UP 10

tier . Defendant Sp i ngler responsibilities                        are to assess medical

needs ,     ref er      inmates     requests       to   see    a    doctor     or    sick   call

requests , and         dispense     medication.         Defendant Spingler            is being

sued in her individual and official capacity .



15 . Defendant        Nurse      Mobolanle . Ebo , RN ,.           Sh e is a nurse at NJSP ,

during the violations complained of herein by Plaintiff.                             Defendant

Nurse M. Ebo (Hereafter " Ebo " ) carries her official                         duties at the

prison's business             address , which is           NJSP ,      3rd .   and     Federal

Streets ,      , Trenton , New Jersey 08625 .

At the time of the violations defendant " Ebo ",                         was    working as a

nurse assigned to the quarantine area located at 7 - UP 10 tier.

Defendant " Ebo ",         respons i bilities are to               assess medical needs ,

refer inma t es requests to see a doctor or sick call requ ests ; and

dispense      medication .          Defendant       " Ebo "    is     being    sued    in   her

individual and official cap aci t y .



16 .   Defendant       Nurse      Neal West , RN , BSN ,.           He is a nurse at NJSP ,

during the violations comp l ained of here i n by Pl aintiff .                       Defendant

Nurse N. West (Hereafter " West " ) carries his                       official       duties at

the prison ' s business add ress , which i s NJSP , 3rd .                      and     Federal

Streets ,      ,     Trenton ,    New    Jersey         08 625 .      At the    time of the

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violations defendant "West" was          working as a nurse assigned to

the quarantine area located at 7-UP 10 tier .            Defendant "West ",

responsibilities   are     to   assess    medical   needs ,   refer   inmates

requests to see a doctor or sick call




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requests ; and dispense medication. Defendant "West" , is being sued

in his individual and officia l capacity.

17.      Defendant               Doctor        John     Doe #3 , upon information and belief

is      named        Dr .        Maljean ,       no     first        initial   is    given therefore

identified            as         Doctor        John Doe #3.           Upon information and belief

Dr.      Maljean            is     a doctor at University Hospital , who contracted

with         NJSP.        Defendant             Doctor J ohn Doe #3 (Hereafter "John Doe

#l)carries            out         his     duties        at University Hospital , 150 Bergen

St. ,        Room     D346, Newark , New Jersey 07101 , phone #(973)972-4300.

At      the     time         of     the       violations           defendant Doctor John Doe #1

was      a     doctor            assigned        to     the quarantine area located at 7-UP

10      tier.         Defendant               doctor        John Doe #3 responsibilities are

to      assess        inmates             medical           needs,    provide treatment or refer

inmates             requests             to      other        medical     staff     for   appropriate

treatment .           Defendant               doctor        John     Doe #3is being sued in his

individual and official capacity.

18 .     Defendant               John Doe #4 information and belief is named

C . O. R.      Gutowski ,           first        initial           not known therefore identified

as      John        Doe      #4     He        is a correctional officer at NJSP , during

the      vio l ations             complained           of     herein by plaintiff.          Defendant

John Doe #4            (Hereafte r " John Doe #4) carries his official dut i es

at      the     prison ' s          bus i ness         address ,       which   is NJSP at 3rd . and

Federal         Streets , Trenton , New Jersey 08625 .                         At

the      time        of      the        violations           defendant John Doe #4 was working
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as a correctional officer assigned to the quarantine area located

at    7-UP     10        tier.           Defendant            John Doe #4 responsibilities are

to    enforce           prison's          rules ,        policies     and operating procedures

inside       the        quarantine          area ,        which     includes ,        but not limited

to    security           of      the      quarantine area .           Defendant John Doe #2 is

being sued in his individual and official capacity.

19.    Defendant              John Doe #5, upon information and belief is named

C.O.R.       Harris ,         no       first initial available therefore identified

as    John     Doe        #5 .      He     is a correctional officer at NJSP , during

the    violations             comp lained           of        herein by plaintiff.          Defendant

John Doe #3 (Hereafter "John Doe #5") carries his officia l duties

at    the     prison's             business         address ,       which   is NJSP at 3rd. and

Federal       Streets ,             Trenton , New Jersey 08625.                  At

the    time        of     the       violations            defendant John Doe #3 was working

as a correctional officer assigned to the quarantine area l ocated

at    7-UP     10       tier .           Defendant            John Doe #5 responsibilities are

to    enforce the prison ' s rules , policies and operating procedures

inside       the        quarantine          area ,        which     includes,         but not limited

to    security          of       the      quarantine area.            Defendant John Doe #5 is

being sued in his individual and official capacity .

20.Defendant Judith Johnson is the acting medical records clerk at

New Jersey State Prison during the violations complained of herein

by plaintiff.            Defendant J.Johnson carries out her off icial duties

at the prisons business address which is NJSP at ~ a n d Federal

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Streets , Trenton New Jersey 08625.                           At the time of the violations

defendant was working at                     the clinic as           acting medical   records

clerk.         Defendants responsibilities are to maintain and record

inmates        medical        records ,      also        to    distribute   inmates   medical

records        upon request.               Defendant Johnson is being sued in her

individual and official capacity .




                           NO PREVIOUSLY DISMISSED ACTIONS



Plaintiff           has   not        had    an    action or appeal dismissed on three

or     more prior occasions on the grounds that the action or appeal

was     frivolous,         malicious             or failed to state a claim upon which

relief may be granted .



                                     III. STATEMENT OF FACTS



21. On 1/3/2018 Plaintiff was diagnosed as having lumbar stenosis

requiring epidural steroid i njections (See Exhibit A) .

22 .    On     11 /11/2019           Plaintiff was issued a cane by Doctor Ashraf

Haggag for Plaintiff 's stenosis condition (See Exhibit B) .

22     (a) .     On       5/22/20          Plaintiff           was   t old he had to go    to

quarantine

l ocated       at     7- UP     10     tier ,      on the way t here plaintiff was told

by     unknown        correct ional          officer in a white hazmat suit , he can


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not     bring        his cane on the unit. Plaintiff was told this by C . O.

M. Doyle .

23.     Plaintiff           told           C.O .     M.        Doyle he needed his cane , but was

ordered        to     leave           it     in his cell at 2-Left/26 cell .                Plaintiff

c omplied with the order.

2 4.    Prior        to being placed in quarantine 7-Up 10 tier,                            Plaintiff

was     never        screened              for      his        serious     back   condition ,   lumbar

stenosis .          Per 10:A , State and Federal laws                          (See Ex hibit A) .

2 5.    On     5/23/20           Plaintiff               told      Nurse    West that he was having

excruciating           back           pain         and     needed        to see a d o ctor , and would

like     his        walking           cane .         Nurse West reply to Plaint i ff was "He

doesn't        need        a cane in quarantine and should wait until he gets

out     to     population".                  Nurse         West       also said "there is

nothing        I     can do for his back pain " .                        (See Exhibit C and Exhibit

D-1).

26.     On     5/24/20           Plaintiff               told      C.O . R. B. Correa he was having

serious        back        pain        and         needed his cane , " Correa" called 2 - left

Housing        unit        by     telephone               in       regard to Plaintiff 's access to

his     cane.         Officer Z . Goodwin relayed back "Plaintiff complains

to o    much        were        not        opening his cell for his cane ."                Officer L.

Jovanovic said "Plaintiff is an asshole he gets nothing" .

(See Exhibit C- 1 and Exhibit D-1) .

27. No medical help or cane was given .

28.     On     5/25/20           Plaintiff               again       requested    access to his cane


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and told "Correa" he was in pain.                          ( See Exhibit D-1) .

29 . No medical assistance and/or cane was given .

30.       On      5/26/20       Plaintiff        requested         help     from C.O. R. K. Vega

for       his      severe       back     pain and access to his cane .             (See Exhibit

D- 1) .



31 . No medical assistance and/or cane was given .

32 .      On      5/27/20       Plaintiff        told      nurse     S.     Spingler   about his

agonizing            back      pain     and    his need for his cane . Plaintiff also

told          C. O. R.   Correa        about     his back pain and need for his cane.

(See Exhibits D-1 and E . )

33 . No medical assistance and/or cane was given .

34.       On      5/27/20       on     2nd     shift       (1 : 30 p . m to 9 : 30p . m) Plaintiff

told          C.O . R. W. Gray about his back pain due to his serious back

condition and that he needed his cane , and                               shower chair.

(See Exhibits E and E-1 . )

35 . No medical help was given , no cane or shower chair given .

36.       On     5/28/20       Plaintiff       again told Nurse West , that            he needed

to see a doctor and needed

his       cane.          And    if     possible        use of a shower chair and that he

has       a      serious       back     condition          called    stenosis .   ( See Exhibits

D-2 , and E- 1 .)

37 . No medical help or cane and shower chair provided.

38 .      On      5/28/20       on     2nd shift , Plaintiff requested help for his

                                                       5
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back    pain     from        Dr.     John Doe #1, who identified himself as Dr.

Maljean.        He     told        Plaintiff he only works CRAF and is a mental

health doctor and couldn't help me.                     (See Exh ibit E-1 . )

39.    On    5/29/20 Plaintiff told C. O.R. Harris , identified as John

Doe    #3.     about        his    severe back pain and his need for his cane .

No medical help given and no cane given.                       (SEE Exhibit D-2)



40.    On    5/29/20         Plaintiff     told        C.O.R. J. Rodriguez , about his

severe back pain and his need for his cane .                        (See Exhibit D- 2 ) .

41. No medical assistance given, no help cane given.

42.    On    5/30/20         Plaintiff told Nurse Ebo about his acute back

pain and need t o have access to his cane.                        (See Exhibit D-2).

43. No medical help or cane provided .

44.    On    5/30/20         Plaintiff     notified         C .O . R.   G.   Kelley of      his

perpetually          excruciating        back        pain   and     needed to have access

to his cane.

45 . No medical help given , no he lp cane given .

46.    On    5/31/20         Plaintiff     again        requested       help for his acute

back pain and need to access his cane from nurse Ebo.

(See Exhibit 0-2) .

47. No medical assistance given , no he lp cane given .

48 .   On    5/31/ 20        on     2nd shift , Plaintiff was in the shower that

did    not     have     a     handrails     or        shower chair and he experienced

excruciating lower back pain that cascaded down to his legs .

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Without        support       of     his     cane and no handrail s Plaintiff

fell        to the floor in pain .            An emergency medical code was cal led

and     medical personnel came and picked up Plaintiff off the floor

and Plaintiff was placed in a wheelchair .

49 .    Plaintiff          went     down     approximately          four flights of stairs

which        exacerbated          the     acute     back   pain      Plaintiff was already

in .



50 .    Plaintiff          was     taken to the prison clinic trauma room where

he     was     given       doses        of unknown pain medication .             Plaintiff was

later        admitted       to     the     clinic       infirmary     where he was given a

large        shot     of    liquid pain medication.               Plaintiff stayed in the

prison        infirmary          for several days under observation and medical

treatment . SEE Exhibits H-H-5

51 . While Plaintiff was in quarantine , 7-Up 10 tier , from 5/22/20

to     5/31/20 ,       there       were     no forms available to write inquiries ,

grievances           or make medical requests .                The Jpay Kiosk which would

have been an alternative was broken from 5/22/20 to 5/31/20.

It     is     used     to write and send inquiries , grievances and medical

requests electronically .                 (See Exhibit F) .

52 . On or about9-21-20 plaintiff while at clinic told J. Johnson

he     needed       his    medical        records       from    5-15 - 20   to    present   for

litigation.          Defendant Johnson told plaintiff Im not going to help

you sue my co-workers .

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53 . Plaint i ff has made mult i ple requests for his medical records

which were supposed to be issued in 30 days . No medical records

given so plaintiff filed a inquiry , no record s given .                       Plaintiff

then filed a grievance no medical records given plaintiff then

appealed with no results.            Plaintiff received assistance from The

New Jersey Corrections Ombudsman. SEE Exhibit I-I6

54. Melissa Matthews hand delivered a additional medical request

I mailed to her which finally resulted in plaintiff receiving his

records .     SEE Exhibit I - 6

55 .   J. Johnson     acting    medical    records          clerk has    a   pattern and

practice of concealing evidence ,                    specifically inmates requested

medical records for litigation purposes.

56.On o r about 12/11/2020 O. F.C . L. Jocanovic and O. F . C . Z. Goodwin

were overheard conspiring not to give plaintiff his cane in the

future . SEE EXHIBIT G-3




                    IV EXHAUSTION OF ADMINISTRATIVE REMEDIES



52 .   On     6/11/20     Plaintiff filed an inquiry to get this practice

stopped.       On     6/11/20    Susan Spingler wrote : " This inquiry would

be refe r red to n u rs i ng management for review ." (See Exhi b it G)

53 .   Plaintiff        fully   exh a us t ed        his adminis t ra t ive remed i es via

the    Jpay     kiosk.      Immediately             after   response    from   the above

inquiry       Plaintiff     filed    a    grievance dated 6/19/20 reiterating


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the same statements in initial inquiry .

54. On 7/26/20 Susan Spingler again wrote: "Your previous inquiry

would be referred to nursing management for review."

55 .    Plaintiff        appealed     the         response on 8/1/20 reiterating the

same statements in initial inquiry.

56.       Plaintiff         has      exhausted                all     applicable      available

administrative           grievances        pursuant            to    42   U.S.C. section 1991

(e).     (See Exhibits G, G-1 , -                  lr,1'1).

57.     Prior     to     filing     this         complaint about the practices , acts

and     failure        to act, which resulted in Plaintiff's 8th Amendment

Rights      violations ,           when      it        is     well    established     Law   that

defendants        can     not violate Plaintiff's Rights.                       Defendants knew

or     should     have     known     that         their actions described above were

in     direct violation of well established Court decisions designed

to protect Plaintiffs rights under the Constitution of the United

States.

58.     Defendants        actions     as         set        forth    in   the   Complaint    and

paragraphs        above demonstrates defendants ' arbitrary , capricious ,

malicious       and      intentional         infringement             upon Plaintiffs rights

with     reckless        disregard        for      the consequences of their actions

and/or inactions.

59 .    Plaintiff        reasserts        15 ,     through           56 and states defendants

practices,        acts     and failure to act , are in violation of clearly

established        law     known     or      should have been known to defendants


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divesting them of any shie l d of qualified inmunity .



                              I. FIRST CAUSE OF ACTION



               VIOLATION OF PLAINTIFF ' S 8TH AMENDMENT RIGHTS.


                              DELIBERATE INDIFFERENCE

60 .     Plaintiff        repeats        and     reiterates      paragraphs    20 through

59 as it has been set forth h erein .




                                  II. SECOND CAUSE OF ACTION

61. The 15 Defendants: G. Ke l ley , B. Correa , W. Gray , W. Vincente ,

J.     Rodriguez , K. Vega , Z. Goodwin , L . Jovanovic , M. Doyle , Susan

Sping l er ,     Nurse      M. Eb o ,          Nurse N. West ,    Doctor John Doe     #1 ,

John Doe #2 and John Doe #3 . (Herein after " Defendants " ) each                     had

perso n al      kn owledge    and/or           acquaintance      by   their

practices , acts , and failure to act .

Defendants             arbitrarily ,            capriciously ,        maliciously ,   and

intentionally           engaged     in        un lawful a ct i o ns which were crue l and

unusual        which     resulted        in     Plaintiff suf f ering unnecessary and

wanton pain violating Plaintiff ' s 8th Amen dme n t Right s.



                             III. THIRD CAUSE OF ACTION
         UNITED STATES REHABILITATION ACT AND/OR AMERICANS WITH


                                                  10
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                                      DISABILITIES ACT

62.    Plai n tiff     repea t s      and    reiterates paragraphs 20 through 61

as it has been set forth herein .

63.    Defendants       each       had personal knowledge and/or acquiescence

relating      to the violations of the U.S . Rehabilitation Act and/or

Americans       with        Disab i lit i es          Act    complained        here    in   this

complaint .



                              IV. FOURTH CAUSE OF ACTION
EVIDENCE      CONCEALED        OR     DESTROYED             NEGLIGENTLY        AND    NEGLIGENT
SPOILATION OF EVIDENCE .



64. Plaintiff repeat and reiterates paragrapths 20 to 74 as it has

been set forth herein .

65 .   Defendant had personal               knowledge of operating practice and

policy that allowed Plsintiff disruptio n in acces to his medical

records knowing that litigation exist or is probable of commiting

gross negligence .

The    law    under        negligence        spoilation           of   evidence        requ i r es

Defendants     not     to     dest r oy     or        conceal     ev i dence    knowing     that

litigation exists or i s prob a b le.

66. Plaintiff ' s       was     di agn o sed      with       severe     and multiple back

compl i cations      for      which     Pl aintiff          was   prescribed a cane by a

doctor to assist Plaintiff with walking and standing.


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67 .     Defendants '                acquiescence        and     had     personal      knowledge     of

operating               practices        and     policy        that    allowed Plaint iff not to

have         access          to his cane and medical treatment causing Plaintiff

to      fall           resulting        in Plaintiff ' s exacerbating his degenerative

back condition .

68 .         The         U. S .       Rehabilitation            Act      and/or     Americans      with

Disabilities                 Act      requires        that Defendants provide a reasonable

accommodation                  for     Plaintiff ' s      disability ,        which    they     failed

to      do        when       the Defendants did not allow him access to his cane

and medical treatment.

69 .     Defendants                acting      under     the     color       of State Law violated

the      U. S .         Rehabilitation           Act and/or Americans with Disabilities

Act ,        by        not     allowing        Plaintiff access to his cane and medical

treatment .

70 .     As        a     direct        and     proximate result of Defendants violation

of the U. S. Rehabilitation Act and/or Americans with Disabilities

Act ,        Plaintiff             suffered      unnece ss ary         and    wanton pain , and had

to      be        hospi talized          in     the     prison ' s      infirmary for three days

and prescribed medication for pain .

71 .     By        their          practices      acts     and     fai lure      to act , Defendants

arbitrarily , capriciou sly, maliciously , and intentionally engaged

in      unlawful ac tions, which re sulted in Plaintiff ' s 8th Amendment

Rights being violated .

72 .     All           dates       mentioned      in     the     statement        of   facts    are an

                                                         12
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approximate.



                                          PRAYER FOR RELIEF



73.     Defendants           by     their     practices ,       acts ,    and failure to act

have     arbitrarily ,             capriciously ,          maliciously , and intentionally

engaged       in     unlawful         actions , which resulted in Plaintiff ' s 8th

Amendment          Rights         being     violated .        Plaintiff      has · suffered and

will     continue           to     suffered     irreparable         injury       as a result of

unlawful         acts ,      practices ,       and failure to act by the Defendants

as     alleged       herein ,        unless     Plaintiff is granted the injunctive

relief he requests :

WHEREFORE : Plaintiff requests that this Court grant the following

relief :

A.     Adjudge       and         declare     Defendants        actions     set forth in this

complai~t • s          paragraphs            above        demonstrate     they    arbitrarily ,

capriciously ,            maliciously ,        and intentionally deprived Plaintiff

of     his 8th Amendment Rights under the Constitution of the United

States      by      unlawful acts , practices , and failure to act and with

reckless         disregard          for     their actions .       Consequently , Plaintiff

is     entitled        to        an award for compensatory damages in the amount

of     $100 , 000 .,        One Hundred Thousand Dollars . From each defendant

which      hopefully             is a sufficient amount to deter Defendants from

continuing          such practices as one , some , or all of the Defendants


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have     a     history of being sued for the very same thing as alleged

in thi s complaint .

B.     Ad judge         and        declare        Defendants actions a s set forth in the

complaint ' s            paragraphs               above        demonstrate     they    arbitrarily ,

capriciously ,               maliciously ,          and intentionally deprived Plaintiff

of     his 8th Amendment Rights under the Constitution of the United

States       by        authorizing           actions           with reckless disregard for the

consequences                 of      their        actions .      Consequently ,       Plaintiff   is

entitled          to     an        award     for     punitive        damages     in the amount of

$100 , 000 .,          One        Hundred     Thousand           Dollars.     From each defendant

which        hopefully             is a sufficient amount to deter Defendants from

continuing             such practices as one , some , or all of the Defendants

have     a     history of being sued for the very same thing as alleged

in this complaint.

C.     Adjudge          and        declare        Defendants actions as set forth in the

complaint ' s           paragraphs           above        demonstrate they violated the 8th

Amendment          under           cruel     and     unusual        punishment .      Consequently ,

Plaintiff          is        entitled        to     an     award     of $100 , 000 ., One Hundred

Thousand          Dollars .          From     each defendant to deter Defendants from

continuing such actions .

E.     Adjudge          and        declare        Defendants actions as set forth in the

complaint ' s           paragraphs           above demonstrate they violated the U. S .

Rehabilitation Act and/or Americans with Disabilities Act .

Consequently ,               Plaintiff        is     entitled        to     an award for punitive

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damages in the amount of $100,000., One Hundred Thousand Dollars .

From     each      defendant        which       hopefully is a sufficient amount to

deter Defendants from continuing such actions .

F.     Permanent         injunction         ordering     Defendants     their   agents ,

officia l        employees,        and    any    and all persons acting in concert

with     them under color of state law to take all necessary actions

to:      ( 1)      Correct     the       violations     herein   this    complaint    by

immediately stopping the practice and interfering with prisoner's

medical         treatment     as     complained       of in this complaint , and any

other amenities this court deems just and fair.

G. Appointment of Counsel .

H. Order a Jury Trial .

I. Grant such other relief as the Court deems just and equitable .


                                         VERIFICATION


Pursuant to 28 U.S . C. s ection 1746 , I declare and verify under
penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

Executed on       fii,11,\Af/ f)1.,J, , 2021

DATED:


Respectful ly Submitted ,




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